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(W.D.T.X. Ref: 245H}(Rev. 01/05) - Judgement In a Criminal Case for a Petty Offense (Short Form)

UNITED STATES DISTRICT COURT Ape neaind
WESTERN DISTRICT OF TEXAS Clerk, U.S. District Court

Western District of Texas

EL PASO DIVISION

Deputy

UNITED STATES OF AMERICA
CASE NUMBER: EP:24-M -01162(1)

vs.

WM 1 Wn

(1) BASEL BASSEL EBBADI
Defendant.

JUDGMENT IN A CRIMINAL CASE
(For A Petty Offense) - Short Form

The defendant, Basel Bassell Ebbadi, was represented by counsel, Damian Ryan George
Rasmussen.

The defendant pled guilty to the complaint on April 26, 2024. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section Nature of Offense D se
8:1325(a)(1) IMPROPER ENTRY BY AN ALIEN March 9, 2024

As pronounced on April 26, 2024, the defendant is hereby committed to the custody of the United
States Bureau of Prisons for a term of five (5) months with credit for time already served. The
defendant shall remain in custody pending service of sentence.

The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

Signed on this the 26th day of April, 2024.

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R@BERTF. ASTIN
UNITED STATES MAGISTRATE JUDGE

